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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


BRISTOL-MYERS SQUIBB COMPANY and
PFIZER INC.,

      Plaintiffs and Counterclaim-Defendants,
                                                          C.A. No. 17-cv-374-LPS
             v.                                           (CONSOLIDATED)

AUROBINDO PHARMA USA INC. and
AUROBINDO PHARMA LTD.,

      Defendants and Counterclaim-Plaintiffs.



                  STATUS REPORT REGARDING POST-TRIAL BRIEFING

       Plaintiffs Bristol-Myers Squibb Company and Pfizer Inc. (together, “Plaintiffs”) and

Defendants Sigmapharm Laboratories, LLC; Sunshine Lake Pharma Co., Ltd. and HEC Pharm

USA Inc.; and Unichem Laboratories Ltd. (together, “Defendants”; each group individually, a

“Defendant”) submit this proposal regarding post-trial briefing in response to the Court’s

November 13, 2019 oral order.

       The parties continue to believe that the post-trial briefing schedule submitted with the

proposed pretrial order (D.I. 672, ¶¶ 55-59) is appropriate. Under that proposal:

          Opening post-trial briefs shall be due on December 20, 2019. In their opening post-

           trial briefs, Plaintiffs shall address infringement (25 pages for each Defendant) and

           Defendants shall address invalidity (40 pages total).

          Responsive post-trial briefs shall be due on February 7, 2020. Plaintiffs shall

           address validity (40 pages total) and each Defendant shall address infringement (25

           pages for each Defendant).




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          Reply post-trial briefs shall be due on March 6, 2020. Plaintiffs shall address

           infringement (15 pages for each Defendant) and Defendants shall address validity (15

           pages total).

       Plaintiffs and Defendants shall also provide proposed findings of fact, separately stated in

numbered paragraphs, constituting a detailed listing of the relevant material facts the party

believes it has proven, in a simple narrative form, along with citations to the record. With their

opening post-trial briefs on December 20, 2019, Plaintiffs shall submit proposed findings of fact

on infringement (up to 20 pages per Defendant) and Defendants shall submit proposed findings

of fact on invalidity (up to 50 pages total). With their responsive post-trial briefs on February

7, 2020, Plaintiffs shall submit proposed findings of fact on validity (up to 50 pages total) and

Defendants shall submit proposed findings of fact on non-infringement (up to 20 pages per

Defendant). No separate Conclusions of Law shall be filed.



 Dated:    November 15, 2019                       Respectfully submitted,

 FARNAN LLP                                        YOUNG, CONAWAY, STARGATT & TAYLOR LLP

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